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 1                                             EXHIBIT A
 2          The following paragraphs or pages (including specific lines, where applicable) in the
 3   Filing States’ complaint contain or reference materials that Defendant Meta Platforms, Inc. has
 4   designated “Confidential”:
 5

 6                   Paragraphs or pages (including specific lines, where applicable)
      Pg. II, lines 6-7
 7    ¶ 2, lines 18-19
 8    ¶ 6, lines 23-26, 1-2
      ¶ 8, lines 17-19
 9
      ¶ 42
10    ¶ 43, lines 4-7
      ¶ 57
11
      ¶ 59
12    ¶ 60
13    ¶ 66
      ¶ 68, lines 12-14
14    ¶ 69
15    ¶ 70
      ¶ 71
16
      ¶ 72
17    ¶ 73
      ¶ 77, line 23
18
      ¶ 78
19    ¶ 79
20    ¶ 80
      ¶ 81
21    ¶ 82, lines 26-27
22    ¶ 83
      ¶ 84
23
      ¶ 96, lines 26-28
24    ¶ 100
25    ¶ 101
      ¶ 106
26    ¶ 108
27    ¶ 109, lines 6-7
      ¶112
28
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 1   ¶ 113
 2   ¶ 114
     ¶ 115
 3   ¶ 116
 4   ¶ 119, lines 21-22, 25-26
     ¶ 127
 5
     ¶ 132
 6   ¶ 135
     ¶ 136
 7
     ¶ 140
 8   ¶ 141
 9   ¶ 142
     ¶ 143
10   ¶ 144
11   ¶ 145
     ¶ 146
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     ¶ 147
13   ¶ 148
     ¶ 149
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     ¶ 160
15   ¶ 162
16   ¶ 163
     ¶ 164
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     ¶ 178
18   ¶ 179
     ¶ 180
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     ¶ 181
20   ¶ 182
21   ¶ 186
     ¶ 195
22   ¶ 196
23   ¶ 197
     ¶ 198
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     ¶ 199
25   ¶ 200
     ¶ 201
26
     ¶ 202
27   ¶ 203
28   ¶ 204
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 1   ¶ 205
 2   Fn. 12
     ¶ 206
 3   ¶ 208
 4   ¶ 209
     ¶ 210
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     ¶ 211
 6   ¶ 212
     ¶ 213
 7
     ¶ 214
 8   ¶ 215
 9   ¶ 216
     ¶ 217
10   ¶ 218
11   ¶ 219, lines 22-24
     ¶ 221
12
     ¶ 228, lines 9-10
13   ¶ 229
     ¶ 230
14
     ¶ 231
15   ¶ 232
16   ¶ 233
     ¶ 234
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     ¶ 235
18   ¶ 236
     ¶ 237
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     ¶ 238
20   ¶ 239
21   ¶ 240
     ¶ 241
22   ¶ 242
23   ¶ 243
     ¶ 244
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     ¶ 245
25   ¶ 246
     ¶ 247
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     ¶ 248
27   ¶ 249
28   ¶ 250
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 1   ¶ 252, lines 10-11
 2   ¶ 254
     ¶ 255, lines 24-25
 3   ¶ 256
 4   ¶ 257
     ¶ 258
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     ¶ 259
 6   ¶ 260
     ¶ 261, lines 19, 21-22
 7
     ¶ 262
 8   ¶ 263
 9   ¶ 264
     ¶ 265, lines 3-5
10   ¶ 266
11   ¶ 267
     ¶ 268
12
     ¶ 269
13   ¶ 270
     ¶ 271
14
     ¶ 272
15   ¶ 273, lines 14-18
16   ¶ 274
     ¶ 275
17
     ¶ 276
18   ¶ 277
     ¶ 278
19
     ¶ 279
20   ¶ 280
21   ¶ 281
     ¶ 282
22   ¶ 283
23   ¶ 285
     ¶ 286
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     ¶ 287
25   ¶ 289
     ¶ 290
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     ¶ 291
27   ¶ 292
28   ¶ 293
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 1   ¶ 294
 2   ¶ 295
     ¶ 296
 3   ¶ 297
 4   ¶ 298
     ¶ 300, lines 17-18
 5
     ¶ 304
 6   ¶ 305
     ¶ 306
 7
     ¶ 307
 8   ¶ 308
 9   ¶ 312
     ¶ 316, lines 21-22
10   ¶ 317, lines 24-25
11   ¶ 318
     ¶ 319
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     ¶ 320
13   ¶ 321
     ¶ 322
14
     ¶ 323
15   ¶ 324
16   ¶ 328
     ¶ 338
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     ¶ 339
18   ¶ 340
     ¶ 341
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     ¶ 342
20   ¶ 343
21   ¶ 344
     ¶ 346
22   ¶ 347
23   ¶ 348
     ¶ 349
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     ¶ 350
25   ¶ 351
     ¶ 352
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     ¶ 353
27   ¶ 354
28   ¶ 355
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 1   ¶ 356
 2   ¶ 357
     ¶ 358
 3   ¶ 359
 4   ¶ 360
     ¶ 361
 5
     ¶ 362, line 1
 6   ¶ 363, lines 2-4
     ¶ 364
 7
     ¶ 365
 8   ¶ 366
 9   ¶ 367
     ¶ 368, lines 23-25
10   ¶ 369
11   ¶ 371, lines 12-13
     ¶ 372
12
     ¶ 379, lines 23-25
13   ¶ 380
     ¶ 385, lines 17-19
14
     ¶ 386
15   ¶ 391
16   ¶ 392
     ¶ 395
17
     ¶ 399
18   ¶ 400
     ¶ 402
19
     ¶ 403
20   ¶ 404
21   ¶ 405
     ¶ 406
22   ¶ 407
23   ¶ 408
     ¶ 409
24
     ¶ 416
25   ¶ 417
     ¶ 418, lines 6-10
26
     ¶ 419, lines 14-16
27   ¶ 419, lines 19-21
28   ¶ 420
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 1   ¶ 421
 2   ¶ 422
     ¶ 423
 3   ¶ 424
 4   ¶ 425, lines 20-21
     ¶ 426
 5
     ¶ 428
 6   ¶ 436
     ¶ 437
 7
     ¶ 438, lines 13-15
 8   ¶ 439, lines 18-19
 9   ¶ 440
     ¶ 443
10   ¶ 448, lines 18-19
11   ¶ 449
     ¶ 450
12
     ¶ 451
13   ¶ 452
     ¶ 453
14
     ¶ 454
15   ¶ 455
16   ¶ 456
     Pg. 73, lines 22-23
17
     ¶ 458, lines 26-28
18   ¶ 460, lines 5-7
     ¶ 463
19
     ¶ 467
20   ¶ 468
21   ¶ 469
     ¶ 470
22   ¶ 471
23   ¶ 475
     ¶ 476
24
     ¶ 477
25   ¶ 478
     ¶ 479
26
     ¶ 482
27   ¶ 483, lines 18-19
28   ¶ 484
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 1   ¶ 485
 2   ¶ 486
     ¶ 487
 3   ¶ 488
 4   ¶ 489
     ¶ 491
 5
     ¶ 492
 6   ¶ 493
     ¶ 494
 7
     ¶ 495
 8   ¶ 496
 9   ¶ 497
     ¶ 498, lines 12-14
10   ¶ 499, lines 18-22
11   ¶ 500
     ¶ 502
12
     ¶ 503
13   ¶ 504
     ¶ 505
14
     ¶ 506
15   ¶ 526, lines 19-21
16   ¶ 528
     ¶ 530
17
     ¶ 533, lines 1-2
18   ¶ 535, line 5
     ¶ 535, line 6
19
     ¶ 539
20   Pg. 91, lines 1-13
21   ¶ 540
     ¶ 541
22   ¶ 542
23   ¶ 543
     ¶ 544
24
     ¶ 545
25   ¶ 546
     ¶ 547
26
     Pg. 92, lines 17-25
27   ¶ 548
28   ¶ 549
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 1   ¶ 550
 2   ¶ 551
     ¶ 552, lines 13-16
 3   ¶ 553
 4   ¶ 554
     ¶ 555
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     ¶ 556
 6   ¶ 557
     ¶ 558
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     ¶ 559
 8   ¶ 560
 9   ¶ 561
     ¶ 563
10   ¶ 564, lines 28, 1-2
11   ¶ 568
     ¶ 569
12
     ¶ 570
13   ¶ 571
     ¶ 572
14
     ¶ 573
15   ¶ 574, lines 3-7
16   ¶ 583
     ¶ 584, lines 12-13
17
     ¶ 585
18   ¶ 586
     ¶ 587
19
     ¶ 592, lines 18-20
20   ¶ 597, lines 13-15, 16-17
21   ¶ 599
     ¶ 601
22   ¶ 602
23   ¶ 603
     ¶ 606
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     ¶ 609
25   ¶ 610
     ¶ 612
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     ¶ 613
27   ¶ 614
28   ¶ 615
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 1   ¶ 616
 2   ¶ 617
     ¶ 618
 3   ¶ 619
 4   ¶ 620
     ¶ 621
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     ¶ 622
 6   ¶ 623
     ¶ 624
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     ¶ 625
 8   ¶ 626
 9   ¶ 627
     ¶ 628
10   ¶ 629, line 9
11   ¶ 630, lines 18-19
     ¶ 638, lines 1-2
12
     ¶ 645
13   ¶ 646
     ¶ 647
14
     Pg. 108, lines 18-19
15   ¶ 648, lines 22-23
16   ¶ 649
     Pg. 109, lines 1-11
17
     ¶ 650
18   ¶ 651
      Pg. 110, lines 1-12
19
     ¶ 652
20   ¶ 653
21   ¶ 654
     ¶ 655
22   ¶ 656, lines 26-27
23   Pg. 111, lines 1-2
     ¶ 657
24
     ¶ 658
25   ¶ 659
     ¶ 660, lines 12-13
26
     ¶ 661
27   ¶ 662
28   ¶ 663
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 1   Page 112, lines 3-4
 2   ¶ 665
     ¶ 666
 3   ¶ 667, lines 15, 17
 4   ¶ 668
     ¶ 670
 5
     ¶ 671
 6   ¶ 672
     ¶ 673
 7
     ¶ 674
 8   ¶ 675
 9   ¶ 676
     ¶ 677
10   ¶ 679
11   ¶ 680
     ¶ 681
12
     ¶ 682, lines 23-26
13   ¶ 683
     ¶ 684
14
     ¶ 685, lines 14-16
15   ¶ 686
16   ¶ 687
     ¶ 688
17
     Pg. 116, lines 4-5
18   ¶ 689
     ¶ 690
19
     ¶ 691
20   ¶ 692
21   ¶ 693
     ¶ 694
22   ¶ 695
23   ¶ 696, lines 7-8
     ¶ 697, lines 10-17
24
     ¶ 698
25   ¶ 700
     ¶ 701
26
     ¶ 708
27   ¶ 710
28   ¶ 711, line 12
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 1   ¶ 712, lines 17-18
 2   ¶ 713
     ¶ 714
 3   ¶ 715
 4   ¶ 716
     ¶ 717
 5
     ¶ 718
 6   ¶ 719
     ¶ 720
 7
     ¶ 721
 8   ¶ 722
 9   ¶ 723, lines 4-5, 7-10
     ¶ 724
10   ¶ 726
11   ¶ 727
     ¶ 728
12
     ¶ 729, lines 5-8
13   Pg. 122, lines 16-17
     ¶ 732
14
     ¶ 733
15   ¶ 734
16   ¶ 735
     ¶ 736
17
     ¶ 737, lines 10-13
18   ¶ 738
     ¶ 739
19
     ¶ 740
20   ¶ 741
21   ¶ 742
     ¶ 743, lines 10-11
22   ¶ 749, lines 17-18
23   ¶ 751
     ¶ 752
24
     ¶ 753
25   ¶ 754
     ¶ 770, lines 8-13
26
     ¶ 772
27   ¶ 773
28   ¶ 774
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 1   ¶ 775
 2   ¶ 776
     ¶ 777
 3   ¶ 778, lines 23-25
 4   ¶ 779
     ¶ 780
 5
     ¶ 781
 6   ¶ 782
     ¶ 783
 7
     ¶ 784
 8   ¶ 785
 9   ¶ 786
     ¶ 789
10   ¶ 790
11   ¶ 791
     ¶ 804
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     ¶ 805
13   ¶ 809
     ¶ 813
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     ¶ 814
15   ¶ 815
16   ¶ 816
     ¶ 817
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     ¶ 818
18   ¶ 820
     ¶ 821
19
     ¶ 822, lines 21-22
20   ¶ 823
21   ¶ 824
     ¶ 825
22   ¶ 826
23   ¶ 827
     ¶ 836, line 6
24
     ¶ 846.c, lines 17-18
25   ¶ 881, line 11
     ¶ 947.c, lines 9-10
26
     ¶ 959.c, lines 1-2
27   ¶ 1001, lines 25-26
28   ¶ 1002, lines 3-4
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 1   ¶ 1005, lines 22-24
 2   ¶ 1012.c, lines 12-13

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